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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

TREVOR KELLEY,                                ORDER OF VOLUNTARY DISMISSAL
                                              WITH PREJUDICE
          Plaintiff,
                                               Civil No. 2:17-cv-00595-EJF
 v.
                                               Magistrate Judge Evelyn J. Furse
ARCTIC CIRCLE RESTAURANTS,

          Defendant.


      This Matter, having come before the Court on Plaintiff’s Notice of Voluntary Dismissal

with Prejudice, and good cause appearing, IT IS HEREBY ORDERED, this Matter is

DISMISSED with prejudice.


           SO ORDERED this 13th day of November, 2017.



                                                 BY THE COURT:


                                                 ______________________________
                                                 Evelyn J. Furse
                                                 United States Magistrate Judge
